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oat IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
UNITED STATES OF AMERICA
UNDER SEAL
Vv.
DAVID ANIMASHAUN (01)
OLUWALOBAMISE MICHAEL MOSES CRIMINAL NO.
(02)
IRABOR FATARR MUSA (03) NORTHERN DISREC OR
BRN D ‘Ry
IJEOMA OKORO (04) EI res Sex
CHUK WUEMEKA ORII (05)
EMANUEL STANLEY ORII (06) SEP 15 2024
aka Roland Iheke
aka Roland Chukwunwokeoch Iheke CLERK, US. DISTRICT CQURT
_ FREDERICK ORII (07) By my
Depry a — _
INDICTMENT
The Grand Jury charges:
Count One

Conspiracy to Commit Wire Fraud
[Violation of 18 U.S.C. § 1349 and 18 U.S.C. § 1343]

1. Beginning at least as early as January 24, 2017, and continuing through at
least July 11, 2017, the exact dates being unknown to the Grand Jury, in the Northern
District of Texas, and elsewhere, the defendants, David Animashaun, Oluwalobamise
Michael Moses, Irabor Fatarr Musa, Ijeoma Okoro, Chukwuemeka Orji, Emanuel
Orji, and Frederick Orji, did knowingly combine, conspire, confederate, and agree
together, and with each other, and with others known and unknown to the Grand Jury, to

commit the following offense, namely to knowingly and willfully devise a scheme and

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artifice to defraud and to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, and for the purpose of executing and
attempting to execute the scheme to defraud did knowingly transmit and cause to be
transmitted by means of wire communication in interstate and foreign commerce
writings, signs, signals, pictures, and sounds, specifically, wire transfers of funds from
romance scam victims into accounts the co-conspirators controlled, in violation of Title

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18, United States Code, Section 1343.
Purpose of Conspiracy and Scheme to Defraud
2. The purpose of the conspiracy was to: (a) make materially false and
fraudulent pretenses, representations, and promises to individuals targeted on dating
websites about their identities to induce the targets of the romance scams to send them
funds; and (b) use the proceeds received from the romance scams for their own benefit

and for purposes other than those represented to the romance scam victims.

Manner and Means of the Conspiracy and Scheme to Defraud
3. It was part of the conspiracy and scheme and artifice to defraud, and among
the manner and means by which the defendants and their co-conspirators carried out the
conspiracy, that:
a. Co-conspirators targeted older, often widowed or divorced individuals, with
savings, as romantic interests on dating websites such as Bumbledate.com

and Match.com;
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b. Co-conspirators created false and fraudulent identities and backgrounds on
dating websites to appear to be individuals living in the United States to
gain the romance victims’ confidence and trust;

c. Co-conspirators often communicated with their romance scam victims
through the dating websites as well as via email and text but never met their
victims in person;

d. After developing the romance victims’ confidence and trust, the co-
conspirators falsely and fraudulently claimed that they had to travel abroad
for business and then falsely and fraudulently claimed they were unable to
access their bank accounts in the United States;

e. Co-conspirators then directed the romance scam victims to send money to
specific accounts under false and fraudulent pretenses;

f. Co-conspirators typically removed the funds received from romance scams
victim from the account that initially received them within days by making
cash withdrawals, buying cashier’s checks, or transferring the funds to
other accounts;

g. Once a romance scam victim had sent money to one co-conspirator, that
victim was often instructed to send money to other co-conspirators;

h. After the co-conspirators depleted the victims of all funds the victims were
able and willing to send, often depleting victims’ of their entire savings, the

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co-conspirators stopped communicating with the victims.
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It was part of the conspiracy and scheme and artifice to defraud, and among

the manner and means by which the defendants and their co-conspirators carried out the

conspiracy, that:

a. Using the alias “George Mike,” Oluwalobamise Michael Moses directed

romance scam victim MK, an individual he met on Match.com, to open a

bank account in the name Khushbu Trading Company, LLC;

. On or about January 23, 2017, at the direction of “George Mike,” aka

Oluwalobamise Michael Moses, MK did two telephone transfers of
$8,000 from Khushbu’s account ending in 6856 at J.P. Morgan Chase
Bank, N.A. in Northville, Michigan, into a bank ending in 0502 at J.P.
Morgan Chase Bank whose sole signatory is Oluwalobamise Michael

Moses;

. On or about January 24, 2017, Oluwalobamise Michael Moses wired

$11,405 from his account ending in 0502 at J.P. Morgan Chase into a bank
ending in 1988 held at Capital One, whose sole signatory is David

Animashaun;

. On or about January 24, 2017, one or more co-conspirators using the name

“Wayne Power” caused romance scam victim whose initials are JSK, met
through Bumbledate.com, to wire $45,465 from her Wells Fargo bank
account ending in 9516 in Santa Barbara, California, to an account ending
in 9570 at Regions Bank in DeSoto, Texas, in the name of OCS Realty Co.

whose sole signatory is Chukwuemeka Oriji;
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. On or about January 25, 2017, Chukwuemeka Orji withdrew $44,000
from his account ending in 9570 at Regions Bank;

. On or about January 25, 2017, at the direction of “George Mike,” aka
Oluwalobamise Michael Moses, MK did a phone funds transfer of $9,000
from Khushbu’s account ending in 6856 at J.P. Morgan Chase Bank, N.A.
in Northville, Michigan, into a bank ending in 0502 at J.P. Morgan Chase
Bank whose sole signatory is Oluwalobamise Michael Moses;

. On or about January 25, 2017, at the direction of “George Mike,” aka
Oluwalobamise Michael Moses, MK transferred $6,600 from her personal
account ending in 8186 at J.P. Morgan Chase Bank, N.A. in Northville,
Michigan, into a bank ending in 0502 at J.P. Morgan Chase Bank whose
sole signatory is Oluwalobamise Michael Moses;

. On or about January 26, 2017, Oluwalobamise Michael Moses wired
$15,000 from his account ending in 0502 at J.P. Morgan Chase into a bank
ending in 1988 held at Capital One, whose sole signatory is David
Animashaun;

On or about January 26, 2017, one or more conspirators using the name
“Wayne Power” caused victim JSK to wire $34,487 from her Wells Fargo
bank account ending in 9516 to an account ending in 9570 held at Regions
Bank in the name of OCS Realty Co. whose sole signatory is

Chukwuemeka Orji, purportedly for shipping insurance on a tent;

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On or about January 27, 2017, Chukwuemeka Orji withdrew $34,000 in
two transactions from his account ending in 9570 held at Regions Bank;

On or about January 31, 2017, one or more conspirators using the name
“Wayne Power” caused victim JSK to wire $27,650 from her Wells Fargo
bank account ending in 9516 in Santa Barbara, California, to Khushbu
Trading Company, LLC’s account ending in 6856 held at J.P. Morgan
Chase Bank, N.A., purportedly for custom fees;

On or about February 2, 2017, at the direction of “George Mike,” aka
Oluwalobamise Michael Moses, MK wired $33,791 to an account ending
in 0502 held at J.P. Morgan Chase Bank, N.A., at Frankford Crossing in the

name of sole signatory Oluwalobamise Michael Moses;

. From or about February 3, 2017, through February 6, 2017,

Oluwalobamise Michael Moses made four withdrawals totaling $26,900
from his account ending in 0502;

On or about February 17, 2017, one or more conspirators using the name
“Wayne Power” caused victim JSK to wire $53,892 from her Charles
Schwab Institutional account ending in 9089 in Santa Barbara, California,
to an account ending in 5270 held at J.P. Morgan Chase Bank, N.A., at
Renner and Custer, Texas, in the name of Prime Global Shipping and
Logistics, whose sole signatory is Fatarr Irabor Musa, purportedly for

maintenance;

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On or about February 18, 20, and 21, 2017, Fatarr Irabor Musa wrote
four checks on that account totaling $50,439;

On or about March 16, 2017, one or more conspirators using the name
“Wayne Power” caused victim JSK to wire $25,000 from her Wells Fargo
bank account ending in 9516 in Santa Barbara, California, to an account
ending in 4431 held at Bank of America in Garland, Texas, in the name of
IJ Global Link whose sole signatory is Ijeoma Okoro, purportedly for
maintenance;

On or about March 17, 2017, Okoro withdrew $10,800 from her account
ending in 4431 held at Bank of America; on March 20, 2017, Okoro
withdrew another $15,000; and on March 20, 2017, Okoro purchased a
cashier’s check of $7,500 made payable to David Animashaun;

On or about March 20, 2017, David Animashaun, deposited a cashier’s
check in the amount of $7,500 drawn on Ijeoma Okoro’s IJ Global Link
account into his account ending in 1988 held at Capital One;

On or about March 20, 2017, David Animashaun transferred $2,500 to his
own savings account ending in 3406 at Capital One and withdrew the
remaining $5,000;

On or about March 23, 2017, one or more conspirators using the name
“Wayne Power” caused victim JSK to wire $40,000 from her Wells Fargo
bank account ending in 9516 in Santa Barbara, California, to an account

ending in 1122 held at Citibank, N.A. in Brooklyn, New York, in the name
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of UFO Trading whose sole signatory is Frederick Orji, purportedly for

additional parts;

. On or about March 27, 2017, Frederick Orji wired $37,000 from his UFO

Trading account at Citibank to a different UFO Trading account he

controlled at Wells Fargo ending in 5588;

. On or about March 28, 2017, Frederick Orji withdrew $20,000 from his

Wells Fargo ending in 5588, and on March 30, 2017, he withdrew another

$14,000;

. On or about June 5, 2017, one or more conspirators using the name “Wayne

Power” caused victim JDK to wire $35,000 from her Bank of America
bank account ending in 2149 in Fountain Valley, California, to an account
ending in 1122 held at Citibank, N.A. in Brooklyn, New York, in the name
of UFO Trading (and nicknamed Wayne Enterprises LLC) whose sole

signatory is Frederick Orji, purportedly to pay for tents;

. On or about June 7, 2017, Frederick Orji sent a wire $29,750 from

account ending in 1122 to an account ending 3250 held at Houston Federal

Credit Union in Sugarland, Texas, in the name of “Bunsunad.”

- On or about June 9, 2017, one or more conspirators using the name “Wayne

Power” caused victim JDK to wire $10,000 from her Bank of America
bank account ending in 2149 in Fountain Valley, California, to an account

ending in 1122 held at Citibank, N.A. in Brooklyn, New York, in the name
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of UFO Trading (and nicknamed Wayne Enterprises LLC) whose sole
signatory is Frederick Orji, purportedly to pay for tents;

z. On or about June 12, 2017, Frederick Orji wired $6,100 from his
Citibank account ending in 1122 to an account ending 9165 held at Bank of
America in Brooklyn, New York, in the name of “chika peace madu.” On
June 14, 2017, Frederick Orji wired $7,598 from the account ending in
1122 to an account ending 3250 held at Houston Federal Credit Union in
Sugarland, Texas, in the name of “Bunsunad.”

aa. On or about July 10, 2017, one or more conspirators using the name
“Wayne Power” caused victim JDK to wire $7,000 from her Bank of
America bank account ending in 9593 in Fountain Valley, California, to an
account ending in 6763 held at J.P. Morgan Chase Bank, N.A., in
Arlington, Texas, in the name of E.O.S. Trading Company whose sole
signatory is Emanuel Oriji, purportedly to pay for a contract;

bb. On or about July 11, 2017, Emanuel Orji, through three different financial
transactions, withdrew $6,900 from his account ending in 6763 at J.P.
Morgan Chase Bank, N.A.

All in violation of 18 U.S.C. § 1349,
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Count Two
Conspiracy to Launder Monetary Instruments
[Violation of 18 U.S.C. §§ 1956(h) and 1957]

Beginning at least as early as January 24, 2017, and continuing through at least
July 11, 2017, the exact dates being unknown to the Grand Jury, in the Northern District
of Texas, and elsewhere, the defendants, Irabor Fatarr Musa, Ijeoma Okoro,
Chukwuemeka Orji, and Frederick Orji, did knowingly combine, conspire,
confederate, and agree with each other and with other persons, known and unknown to
the Grand Jury, to commit the following offenses against the United States in violation of
18 U.S.C. § 1956(h), namely:

(a) to knowingly engage, or attempt to engage, in a monetary transaction
involving the proceeds of a specified unlawful activity, namely, conspiracy to commit
wire fraud in violation of Title 18, United States Code, Section 1349, in an amount
greater than $10,000, by, through, or to a financial institution and that while engaging and
attempting to engage in such monetary transaction, knew that the property involved in the
transaction was criminally derived, in violation of 18 U.S.C. § 1957.

All in violation of 18 U.S.C. § 1956(h).

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Notice of Criminal Forfeiture
[18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1)]

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of
any offense violating 18 U.S.C. §§ 1349 and 1343, the defendant(s), David
. Animashaun, Oluwalobamise Michael Moses, Irabor Fatarr Musa, Ijeoma Okoro,
Chukwuemeka Orji, Emanuel Orji, and Frederick Orji, shall forfeit to the United
States of America any property, real or personal, that constitutes or is derived from
proceeds traceable to the scheme to defraud.
Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of any offense in violation of
18 U.S.C. § 1956(h), the defendants, Irabor Fatarr Musa, Ijeoma Okoro,
Chukwuemeka Orji, and Frederick Orji, shall forfeit to the United States of America
any property, real or personal, involved in the money laundering conspiracy, and any
property traceable to such property.
The property to be forfeited includes, but is not limited to:
« The property to be forfeited may take the form of a forfeiture “money”
judgment; and
« Substitute property as allowed by 28 U.S.C. § 2461(c), 18 U.S.C. § 982(b) and
21 ULS.C. § 853(p).

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A TRUE BILL

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FOREPERSON

PRERAK SHAH .
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THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA
v.
DAVID ANIMASHAUN (01)
OLUWALOBAMISE MICHAEL MOSES (02)
IRABOR FATARR MUSA (03)

IJEOMA OKORO (04)

CHUKWUEMEKA ORJI (05)

EMANUEL STANLEY ORJI (06)
aka Roland Iheke
aka Roland Chukwunwokeoch Iheke

FREDERICK ORJI (07)

SEALED INDICTMENT
18 U.S.C. § 1349 and 18 U.S.C. § 1343
Conspiracy to Commit Wire Fraud

(Count 1)
18 U.S.C. §§ 1956(h) and 1957

Conspiracy to Launder Monetary Instruments
(Count 2)

18 U.S.C. § 981 (a)(1)(C), 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1)
Forfeiture Notice

2 Counts

A true bill rendered
7.

FORT WORTH FOREPERSON

Filed in open court this | 5 day of September, 2021.

Warrant to be Issued

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UNITED STXTES MAGISTRATE JUDGE
No Criminal Matter Pending

